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                      EXHIBIT
                        D
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                                                                             _,__
                                                                           pilgrims•
   October 28, 2016


   Mr. Eric K. Hedrick                 Via hand delivery & certified mail, retum receipt requested
   Triple R Ranch LLC
   HC 32, Box 63E
   Upper Tract, WV 26866

   Re:    Pilgrim's acceptance of Triple R Ranch LLC's decision to terminate its broiler
          production agreement

   Dear Mr. Hedrick:

   You previously signed a Broiler Production Agreement ("Agreement") with Pilgrim's Pride
   Corporation ("Pilgrim's") for Triple R Ranch LLC broiler farm that became effective on March
   16, 2012. Section C of the Agreement states the following:

         C.      Tenn. The term of this Agreement shall commence on the date of
         execution of this Agreement, continue on a flock to flock basis, and shall
         terminate upon completion of the engagement(s) subject to the right of the
         Independent Grower or the Company to terminate this Agreement upon written
         notice as provided in this Agreement.

  (Emphasis added). Section D sets forth the bases for Pilgrim's or Triple R Ranch LLC to
  terminate the Agreement. For purposes of this letter, the relevant portion of Section D is as
  follows:

         D.      Termination.

                                               ***

                 Either the Independent Grower or the Company shall have the right to
         terminate this Agreement and its Exhibits without any need for cause provided
         that written notice is given at least 90 days prior to the termination of this
         Agreement. Any such written notice from the Independent Grower shall be given
         to the Live Production Manager or Broiler Manager.

  As a courtesy to you, a signed copy of the Agreement is attached hereto for your convenience.

  On Monday, October 3, 2016, Pilgrim's received an email from your email address stating that
  Triple R Ranch LLC "will not be taking any more chicks after this flock we have now is
  finished. We are closing our doors." The email was sent by Rachel and you on behalf of Triple
  RRanchLLC.
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   Eric K. Hedrick
   October 28, 2016
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   Pilgrim's accepts Triple R Ranch LLC's decision to tenninate the Agreement. Additionally,
   Pilgrim's waives its right to receive 90-days' notice of tennination from Triple R Ranch LLC.
   Accordingly, per Triple R Ranch LLC's request and representation that it is "closing [its] doors,"
   no further chicks will be delivered to the farm's poultry houses now that the current flock has
   been remoyed for processing.

   Thank you for your previous service as a Pilgrim's independent contract poultry grower.

   Sincerely,

   tfo
   Randy Stroud
   Senior Vice President - Live Technical Services

   Encl.
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      A-,.
     p1 grnns·                                                                  COMPLEX LOCATION: BROADWAY, VA/ MOOREFIELD, \W

                                                PILGRIM'S PRIDE CORPORATION
                                               BROILER PRODUCTION AGREEMENT

    Thi, Pilgrim'! Pride Corporation Broller Producllon Agreemenl (hereinafter "Droller Produclion Agrcemenln or "Agreement") Is made

    11nd entered Into by 11nd between PlLGRJM'S PRIDE CORPORATlON, hereinafter called the "Company" and                        rt/u/4
                                                                                                                                  I
                                                                                                                                      £~-11t:I{_ ).),(!__
    hereinafter cnlled the "lndependenl Grower", crrc:cllve the    _il day of       fr,   (!J4'.. I~     ,201!::..
    WHEREAS, Company is engeged In, among other things, the growing and processing of broiler chickens (herelnaller referred to es 'Broilers'),

   WHEREAS II Is necessa,y that such Broilers be raised In condilloos to comply with applicable regulations and to ensure that lhe Broilers are of
   a~eptable quality,

   WHEREAS the Independent Grower has the proper farm, factllUes and equipment lo raise Broilers for eventual processing, and

   WHEREAS II ls the desire of both the Company and the Independent Grower that this phase of the work be done by the Independent Grower.

   NOW, THEREFORE, In conslderaUon of the mutual covenants and promises of the parties hereof, Ille Company and the Independent Grower
   covenant and agree as follows:

  A.         Engagement of lhe Independent Grower. Subjed to the terms and conditions of this Agreemenl Independent Grower hereby covenants
  and agrees to perform the work and labor nece5$ary to maintain the proper facflijles to raise and prepare Broilers to be caught and caged for
  processing for the Company. Such Agreement Is to continue unless terminated In accordance with the provi$1ons herelnalter contained. The work
  and labor herein provided for shall be done and performed by Independent Grower as en lndependanl contrador and under Hs sole supervision,
  management, direction and conllol of day to day operations. The ~mpany wm not supervise Independent Growel's personnel or employees In lhe
  performance of such work or as to the manner, means and methods In which such work or labor Is performed other than to assure that the Broilers
  are raised ln compliance with applicable laws and ~ulellons and the guldellnes oflhe Company.

        ADDITIONAL CAPITAL INVESTMENTS. ADD,VONAL LARGE CAPITAL INVESTMENTS MAY BE REQUIRED OF
  INDEPENDENT GROWER DURING THE TERM OF THE AGREEMENT.

  8. .      ~- The fee paid by the Company to the Independent Grower for the performance of service!!, by Iha Independent Grower In conneeUon
  with the engagement(s} shall be detemilned as described In Exhibit A. Independent Growers that are company employees (or immediate family
  members or an employee) or broller se,vlce contractors will be excluded from the calculatlons used lo determine the average grower costs.

 C.         Itml, The term of this Agreement shall commence on the dale of execution of lhls Agreement, continua an a flock to flock basis, and
 shall termfnate upon complellon or the engagement(s) subject to the right or the Independent Grower or the Company lo terminate lhls Agreement
 upon wrillen nollce as provided In this Agreement

 D.       Termination. Independent Grower shaU have a right to lermlnale this Agreement unUI 12:00 Midnight on the third business day after the
 day on which Independent Grower signs the Agreement. Independent Grower shall provide written notice of termination to the Live Production
 Manager or Broiler Manager.

           Either lhe Independent Grower or the Company shall have the right lo terminate this Agreement and II! Exhibits without any need for
 cause provided that written notice Is given at least 90 days prior to the termination of this Agreement. Any such written notice rtom the Independent
Grower shall be given to lhe Live Production Manager or Broiler Manager. Any such written nollce shaM be given from the Company to the
Independent Grower staling the reason(s) for tennlnallon, when the lennlnatfon Is effective, and appeal rights, If any, thel the Independent G10wer
may have wilh the Compeny. Termination during a flock shall be In accordance with the other terms or this Agreement. Should such termination
occur, 1he Company agrees to pay lhe Independent Grcwer for all setVlces perfonned In accordance with this Agreement untll lerrnlnaUon of this
Agreement, and the Independent Grower agrees to perform all obligations unm termination or this Agreement. Except for cause or economic
necessity, Company will not tennlnate this Ag~menl without flr.;t requiring Independent Grower to follow the 'Cost Improvement Program• es
desc1lbed In Exhibit B.

          In the event of gross negllgence or abandonment of lhe Broilers by the Independent Grower, the Company shall have the right to take
over the care and possession of the Broilers on Independent Growe(s poultry fa.,, and complete the grow out In any manner Company sees fit, with
any and all expense lncu,red by Company being charged back lo lhe Independent Growor, and at the Company's opllon this Agreement, at that
time, may be terminated as provided In this Agreement.

           Independent Grower's default under any financing agreement and/or levy, seizure, or attachment or Company property, insolvency or
bankruptcy of the Independent Grower, shall be conslderad a material breach of this Agreement and/or Its Exhibits, and the Company shan have the
right to take over said work and complete II In any manner II sees fit, with any and ah expense above that the Independent Grower would have
nonnally received for the job being charged back lo the Independent Grower, and al the Company's option lhls Agreemenl, at that lime, may be
terminated.


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        E         Representations and Warranties     of Independent Grower    The lndependenl Grower hereby represents and warrants to the Company and
        agrees lhal:

        (1) lndependenl Grower will neither represent nor hord l15ell out lo be an employee, agent, partmir, representative or Joint venture of or with the
        Company;

       (2) Independent Grower will pay au stale, local and federal taxes which may arise from the provision of services under this Agreement;

       (3) Independent Grower will comply with all appl1cabl& local, stale and federal laws, rules and statutos:

      (4) Independent Grower has or will procure all licenses or pem,:ls necessary or required to carry on its business In lhe lccaUons In which the
      Independent Grower operales

      F.          R§SPONSIBILITIES OF THE COMPANY:

      I)       Chicks. The Company wW provide the Independent Gruwer with chicks plae&d from the hatchery wllhout bias in lherr selection. The Company
              retains title lo lhese chicks and bears the specified CO$l5 of producing them prior to delivery lo Independent Grower. The Company will provide
              the Independent Grower with proper advance notice or lhe chlcl! delivery time.
      2)      Ells!: Th11 Company will provide lhe Independent Grower wilh lhe feed necassary to produce the broilers. The Company relalns tiUe lo any
              feed and bears the specified costs of the feed and lhe rlghl to tataln or dispose of exces, reed .
      3)      Schedullng, Number and Breed. The Company shall delermlne lhe number, frequency of placement, size of broiler, and breed or birds. The
              Company wlll determine when and where the brollers shall be processed and wiQ ncllfy the lndependenl Grower of the processing
              arrangements.
      4)     Catching and HauUng. The Company wm provide the labor and equipment necessary to catch anlf read the broilers, and to haul the flock 10 a
             processing plant at no cost to the Independent Grower.
   5)        Property Damage. Any damage or theft to Independent Growe(s property or equipment lhal occurs during calchlng, hauling or feed delivery
             that Is proximately caused by the negrtgent act or omission of the Company or parlles under its control, provided that II ls promptly reported and
             verified, will be reimbursed or replaced wHhout cosl le Independent Grower by the Company or parties under its canlrol.
   6)        Documents. The Company agrees to furnish copies of the Independent Growel's chldl delivery Uckels, feed tickets, medication tickets, live
            werghl llckels, condemnation certificate, setllement sheet, and II ranking sheet of an settlements for the week that the Independent Grower
            settled.
   7)       Record Maintenance. The Company will maintain records of each Independent Growel'a account far the legaly required time period.
  8}        Certified Seal&§. The Company will provide certified scales to be used le weigh live brolera and reed. The Company shaa use certified weigh
            masters to operate these scales. The Company shell make arrangements to use allemate certified scales In the even! tho primary scale Is
            Inoperable.
  9)        Observalfgn or Weighing. The Company agrees that the Independent Grower or a ramlly member I farm manager Is enlllled to observe the
           weighing of feed to be delivered to, or the weighing of the five broilers rrom, his/her farm provided lhal such adlons da not Interrupt the normal
           productlon flaw of the Company's operations.
  10)      payment The Company agrees to pay the Independent Grower ror services hereunder In accordance with Elhlbll A hereto.
  11)      Veterinary Services. Toe Company wlll provide veterinary services as necessary et no cost to the Independent Grower. Toe veterinarian
           eheR be selected solely by the Company. The Campany retains title to any medication that Is left on Independent Grower's farm.
  12)      Tec::holcal Assistance. The Company wiU provide technical advice el no cost to the Independent Grower. The Company's Field Service
           Supervisors shall visit the Independent Grower perlodlcally to give advice and esslslance as required to help ma>1imlze broiler performance,
  13)      Risk or Lou. The Company wlll beer the financial risk of loss or birds, feed, and medication while these properties are In the Independent
           Grower's posse55lcn, provided lhal such properties were not damaged or lost due to a negligent act or omission of Independent Grnwer or
           pa Mies under ils conlrol or due to a breach of Independent Grower's c:unlractual obllgatlcns under this Agreement The Company relarns Utle to
           any supplies II left on the Independent Growa~s farm.
 14)       Olscla(mer. EXCEPT AS SPECIFICALLY SET FORTH HEREIN, COMPANY MAKES NO OTHER REPRESENTATIONS, GUARANTEES OR
           WARRANTIES, EXPRESS OR IMPLIED, WITH RESPECT TO THE INDEPENDENT GROWER'S OPERATIONS UNDER THIS AGREEMENT.

 G.             RESPONSIBILITIES OF THE INDEPENDENT GROWER:
 I)   Basic Housing. The Independent Grower shall provide and maintain proper housing, equipment, IHter and ullllUes In accordance wilh th11
      Company's speclticallons and 11ppllcsble regulations.
 2) Hu;ibandry Methods. The Independent Grower agn,es 10 follow appllcable laws and regulations as wall as tho Compuny's wrillen and verbal
     management racommendilllons, Including, but not limited lo, watering, feeding, brooding, sanitation, titter, vacc!natlcn, medication, house
     environment lighting, pest control and blosecurlty.
 3) ~ . The Independent Grower agrees to provide the labor neceuary to provide good hu5bandry during the growing period, The
     Independent Grower or his/her agenl must be presenl when baby chicks arrive and furnish adequate labor to unroad chicks.
4) Catching Praparatlon. The Independent Grower wlll prepare lhe house ror catching and follow the ,ecommended reed withdrawals The
    Independent Grower or his/her agent must be present 10 walk the houses with lhe crew foreman prior lo 1h11 beginning cf c:alching and to
    detenmlne the number of d11ad blrd:i. Otherwise, the Independent Grower wlll accept the crew foreman's delerminallon cf the number of dead
    birds. Independent Grower wm allow catching cmws to uUllze any needed fans and ulllitles.
5) ~ - The Independent Grower wlll maintain all-weather roads lo the chlcl!en houses and provide adequale loading pads and space to tum
    vehicles. Failure lo maintain roads, loading padS and tum-arounds will make the Independent Grower Uable for wrecker services and damages
    sustained by the Company In accessing the raclllty.
6) waste Disposal. The Independent Grower wm dispose of all dead birds, manure and poultry house Hiter In accordance with the Dead Bird
    and Pcuttry House Litter Best Management Practices provided In Exhibit C to lhla agreement. Further, the Independent Growet agrees lo
    dispose of all dead birds and pooltry house litter In accordance with all applicable federal, stale, and local laws, rules, and regulations where
    mere stringent than Iha Best Management Practices provided in Exhlbfl C. Independent Grower agrees to have applied for or have a Waste


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            Managemenl Plan frcm the local office of the Nalural Resource Conservation Service or slmllar agency or olheiwise be In compl:anca with
            such agency requirements
     7) Blosecurlty. Independent Grower agrees to prohlbll lhe presence of poultry. fowl or raliles of any kind on his/her farm other then lhat provided
           by the Company. Independent Grower also agrees lo make every effort lo limit the movement of non-essential people, vehicles and equipment
           In and around the poultry houses. In the event of a conlaglous disease outbreak threatening Independent Grower's farm, lnd!lpendenl Grower
          wlU comply with Iha diredlves of au local stale and federal agencies, as well as the guide lines of Iha Company.
     8) Anlmol Welfary. Company maintains a program or animal welfare that is designed to ellmlnale unnecessary ham, and suffering for poultry In
          the day-lo-day operation or our production processes. Independent Grower represents and warrants that Independent Grower will comply with
          the Company and Industry standards regarding animal welfalll Including. but not limiled to, this following provisions.
                A. lndependant Grower wlll follow live production practices that avoid unnecessary sufferlng, prevent destructive behavior, and prevent
                     disease while promoHng good animal health.
                B Independent Grower will also follow lhe guidelines for animal welfare promulgated by the Company, Included with the Grower
                     guidelines, with the Intent to promote the humane treatment and well-being of poultry lhrough the production process.
                C Any Independent Grower who violates the Company animal welfare policy and asaoclated procedures wm be subject to teimlneUon of
                     their BroUer Production Agmement.
    9) A1,proved Mat&rtals. Independent Grower agrees to nol use any feeds, Jns&ctlckles, medlcallons, disinfectants, herbicides, pesticides, wood
         preseivatlves, floor treatments, rodentlclde or other similar msterfa!s on lhe farm premises without the approval of the Company.
    10) Risk or Loss. The Independent Grower will bear the flllanclal risk of loss of Basic Housing, Labor, Catching Preparation, Roads and Waste
         Ofsposa~ provided lhal such loss Is not due solely lo a negligent act or omission of lhe Company or parties under its control.
   11) Safp Work EnvlrcnmenL Independent Grower agrees to maintain a safe working environment for tepR!Sentatives of the Company and their
        vehicles that must enter the premises to carry oul their work assignments. Independent Grower shall allow Company employees, vehicles or
        agents to enter the prffl!lsu al eny lime.
   12) Compllanco With All Laws and Regylatlons. Independent Grower agrees to comply wllh all applicable regulations end laws, whether
        federal, stale or local.
   13) Record l<eeplng. Independent Grower agrees to keep accurnle records cf morlelily and other detailed Information deemed necessary lor
        sound managem1:1nt by the Company.
   14) Independence of Grawer. lndependenl Gro1Wr Is an Independent contraeior and Is nol to be considered In eny way an employee ot the
        Company and Independent Grower shall be solely responsible ror his/her own activities. Independent Grawer will be responsible for ell or
       his/her own agents, employees, and subcontractors as to wages, workers compensation, unemployment Insurance, and all other nonnel and
       usual employer and employee expenses, and lndependenl Grower shall be responsible ror ell acUons of those persons during !heir
       employment with the lndepandent Grower. Subject to the olher provisions of this Agreemant, Independent Grower may Join or assist any
       assoc!aUon or organization or the Independent Gn:,wer's choice wthout any effect on lhls AgmemenL

   H.        RESPONSIBILmes OF COMPANY ANO INDEPENDENT GROWER:
  1)    Best Efforts. The Company and Independent Grower agree to u11e their best efforts In maintaining the broilers In such a manner that opllmlus
        unlrormlty, heallh, livabillty, and the perfo,mance of Iha bn:tllers lo market age. If Independent Grower falls to use best efforts In management
        and/or housing of broRers and/or maintenance, or operation of equipment, the Company has the right (at Its option) lo suspend placements or
        chicles untll such deficiencies are corrected.
  2) TransferabllUy. Independent Grower may nol assign Ot tramfer Independent Grower's rights er obligations under this Agreement and/or ii!
        Exhlblls ror the specific farm without the Company's prior wrillsn consent. Independent Giower understands and aclmowledges that the
        Company reserves !IHI right lo require that lhere be Improvements or upgrades to poutt,y houses or to equipment on such farm before the
       Company gives consent to any transfer, or grants a new conlraci, and the Company Is under no obllgallon whatsoever to approve a transfer of
       the Independent Grower's rights or obllgallons under this Agreement and/or Its Exhibits or grant a new contract. Company's rights and
       obligations under this Agreement and/or ils Exhlbils can be transferred or assigned without the Independent Grower's consent lo any entity or
       other person acquiring Company by merger, or purchasing all or substanllally an of Company's assets, or acquiring aH or substanllally all of the
       assets or the Company. Further, Company may, without Independent Grower's consent, transfer Independent Grower and Iha perfonnance of
       Company's obi/gallons under this Agreement to another of Company's Complexes. Addlllonally, Company may, without Independent Growe~s
       consent, transfer Company's rights (but not any of Its obligallons) under this Agreement as collateral security to any tender(s) or egenl(s) acting
       on Its behalf providing secured financing to the Company. Upon notice of the occurrence of any event or default delivered to Independent
      Grower by suc:11 lender{s) or agenl(s) under the appllcable secured financing (which notice Independent Grower may rely on conclusively and
      wllhout lhe consent of or notice to Company), the Company's lender(s) and agent{s) shall be enlllled lo exercise any and all rights and
      remedies or Company under this Ag1eement and Independent Grower shall comply with the exercise of such rights by Company's lender(s)
      and agenl(s); provided that such lender(s) and agenl(s) shall not be obligated to exercise any such rights, and the failure lo do so shan not
      re,ull In eny llablHly to any such londer(s) or agenl(s).
 3) Incurred Expons99, Any agreed upon expenses paid by the Company on the Independent Grower's behalf under this Agreement are hereby
     authorized to be deducted rrcm Independent Grower's payml!nt prior lo any other amounts being paid to Independent Grower or their
     assignees. The Company will provide an Itemization of such deductions In wrlUng at the time of paymenL
4) L!ablllty and Indemnity of Independent Grower. Subject to the provisions for arbllrallon as herein provided, Independent Grower agrees to
     Indemnify, defend, and hold the Company, Its off'icers, employees, agents, and represontaUvas harmless against any and an claims, damages,
     llabilllles, losses, acllons, and expenses, Including Injury to any employee of or to eny property of the Company, proximately caused by
     negligent acts or omissions or Independent Grower or his agents, employees, sub-contractors or parties under Its control, In the performance of
    Independent Grower's duties hereunder. Independent Grower lurther agrees to Indemnify, defend and hold the Company harmless tram and
     egainsl any and an losses, claims, damages, and actions, Including federal, slate, or local administrative actions, rulings and all other actions ol
    any nature whatsoever which are In any manner caused by or which result from the presence of the broflers on lhe premises or Independent
    Grower, Including, but not necessarily limited to malter.s lnvolvl/\g emission complaints, disposal complalnts, or pollullon ccmplalnts, vlolallon cf
    law, and any negligent octs or omissions of lndependenl Grewe, ill the perfonnance of Its obllgallons under this Agreement
5) !,lablllty and Indemnity of Company. Subject to the provisions for arbitration as herein provided, lhe Company agrees le Indemnify, defend,
    and hold harmless the Independent Grower from and agalmt any claims, damages, liabllillee, losses and expenses for personal Injury or




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              property damage (lo property other than chicks or feed) proxlmately caused by negllgent acts or omlss:ons or the Company In the petformance
              of its obligations under lhfs Agl'l!ement.
      6) THIRD PARTY PRODUCTS. THE COMPANY PROVIDES ANY THIRD PARTY PRODUCTS, SUCH AS MEDICINES AND VACCINES "AS
             IS," AND DISCLAIMS ALL WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE AS TO THOSE
             ITEMS, EXCEPT TO THE EXTENT PROVIDED BY MANUFACTURER.
      7) Arbltrallon, Except as provided under Subsection xii, an claims between the Company and Independent Grower arising out of or
             relatJng In any way to tho execution, lnhirprutatfon and performance of this Agrnment and/or 115 Exhibits, and/or the dealings
             betw&fln Independent Grower and Company, shall be submitted to binding arbitration conducted by a single arbitrator to be selected
             by the parties, If the parties cannot agntO on a single arbitrator, then the :single artllt,ator shall be selected In the followfng manner:
            (I) the arbitration shall be conducted by the Dallas office of the American ArbltraUon Association ("AAA"); (II) a slngfo arbitrator shall
            be selected from a 11st of at least 7 fndlvfduals provided by the AAA; (Ill) tho party demanding arbltratlon shall make the fir.it, third
            and flfth strikes from the 11st; (Iv) the second party shall make the second, fourth and sixth strikes; and (v) the remaining Individual
            from the original 11st of seven shall be the arbitrator. Regardless or whether the parUes select the slngle arbitrator without the
            asslstanci, of the AM or whether the AAA conducts the arbltraUon, the following procedun,s shall apply:
                     I. Either party (Company or lndepi,ndent Grower) shall demand arbilrallon In writing within one hundred twenty (120) days after the
                     aneged claim wes known or reasonably should have been known by se,vlng a copy of the written demand to the other party. II the
                    Company demands arbitration, lhe wrillen demand shaO be provided to the Independent Grower. If the Independent Grower demands
                    arbltralfon, the written demand shan be provided to the Company by mall to Pilgrim's Pride Corporation, Al1n: legal Dept., 1no
                    Promontory Clrde, Greeley, CO 80634.
                    Ii, The parties hereby agree that the arbitrator selected shall be a neutral and Impartial aJbllrator.
                    Iii. The arbitrator shall btt a peroon having knowledge of or experience with n,spect lo the poullry production Industry.
                   iv, Each party shall bear Its own arbllrallon coats and expenses, and the costs and expenses of the arbitralor sheU be sharad jolnlly and
                   equally between th" parties,
                   v. The arbitration hearing shall bu held within the specified venue or an agreed-lo location. Al least twenty (20) days advance notice of
                   the hearing dale, tine end /ocatfon shall be provided to both parties.
                   vi. Discovery shall be pennllled In connection with the atbllratlon only to the extent, If any, expressly authorized by the arbllrator upon a
                   showing of sub11tanllal need by the party seeking dfscove,y.
                   vii, Tha arbitrator shall have no power to award non-monetary or equllable reffef or any sort, The arbitrator shaR also have no power to
                   award (a) damages Inconsistent with any applicable agreffl'!ent between the Parties or (b) punfUve damages or any other damages not
                  measured by the prevaHfng party's actual damages, and the partle., expressly waive their right to obtain such damages In arbitration or In
                  any other forum,
                  viii. The arbltnalor shaM hear the evidence and testimony 01Jered by the parties, and the arbitration hearing shaif be concluded within ten
                  (10) days from Its starting date unless otherwise ordered by the arbitrator. The arbHrator wlU make a decision within thirty (30) days from
                 the completfon of the hearing. Either party may ask for a raasoned award In wrfllng, which shan be provided to the partles. Both parlles
                 shall be allowed a period or time to submit post-he11rlng briefs within a period of time designated by the arbitrator. Any award rendered by
                 the arbitrator shall be final and binding on au parties except as provided by law, Such Judgment or award rendered by tha aitltrator may
                 be recorded or entered by either party In any court having )urlsdlcllon pursuant to this Agreement.
                 i,c, The parti11s stipulate that the provisions hereof shaU be a complete defense lo any sul~ action, or proceeding lnsliluled In any federal,
                 slate or local court or before any administrative tribunal. The arbitration provisions hereof shafl, with respec1 lo any controversy or dispute,
                suivlve tho tennfnallon er expiration of this Agreem.ent and/or ils Exhibits.                    _
                x Nothing herein contained shall-be deemed to give the arbitrator any authority, power, or right to alter, changtt, amend, modify, add to or
                subtract rrom any or the provisions or lhls Agreement and/or Its Exhlbfls,
                xi Failure by etther party to participate In the arbttralfon process shall preclude that party from objecting lo the arbitration proceedings.
                ,cii. INOEPENDENT GROWER MAY DECLINE TO BE BOUND BY ARBITRATION BY COMPLETING THE INFORMATION AND
                PLACING HIS OR HER SIGNATURES ON PAGE GOF THE AGREEMENT, Ir Independent Grower elects not lo be bound by this
                Arbilratlon section, Independent Grower and the Company can nevertheless agree to arbitrate any and an cfafms between themselves
                arising out of or relatfng In any way to the execution, Interpretation and perlormance of this Agreement andfor !Is Exhlbils by consenllng lo
                arbitration In wrftfng after the cfalm(s) arise,
 B)      Conndonllellty. Independent Grower acJmowledges that ill! employees and other repmsentallve, will be e,cposed to conlidenllal and
         proprfelary Information of Company during the ordinary course of providing the services contemplated by this Agreement, Independent Grower
         agrees to use Its be:it efforts and lo cause Its employoos and olher represenlallves to use the same degree of r:are lo maintain the
         C{)nfidenUalfty or such Information as fl would end/or does wilh respad to Its own proprietary and confidential business infonnatlon.
         Independent Grower agrees to rerraln from di!closlng any part of Company's confidential and proprietary Information lo a third party
         tndependant Grower further agrees not to use any confldentlel and proprietary business lnlonnal/on of Company for any purpose other than the
        performance or the Servfcas described hereunder.
 9)      Business Ethics Neither party wffl offer or provide to lhe employees, agents 0< other represenlattves of the other party any ravors, gratuities,
        gifts, payments, or anything of value, whether or not In an attempt to Influence such pef$on's administration or lhe provisions of Agreement or
        to othelWlse gain unfair advantage fndlv!dually and/or relative 10 competing supplera/Vendors,
       .Addltlonally, each party will Immediately report to the other party any requests made for favors. gratuities, gifts, payments, or anylhlng of value
        by employees, agents or other representatives of such party and wfU cooperate with respect to any Inquiry or Investigation being conducted
        related lo such activities or alleged actlvllles, PUgrlm's Prld11 has establr.ihed Its Pride Line wilh the lo11-rree number or 1-888·536-1510 to
        report any unelhlcal conduct.
10)    Prior Agreement:,/Entlre Agreement. This Agreement supersedes, voids and nullifies any and all previous Broiler Production Agreements
       and all other previous agreements governing the relationship lletween Independent Grower and Company. The Independent Grower and
       Company hereby release and extinguish all clalms that they may have against each other under any previous Broiler Productlon Agreement
       and all other previous agreements governing lhe relationship between Independent Grower and Company This Agreement, end any Exhibits
       herelo, consUlute the entire agreement between the parties, and those documents supersede all oral statements and other communlcallons
       made berore Iha execution or those documents, Independent Gr0'-N8r acknowledges that In entering lnlo this Agreement, he/she has no! relied
       upon any statements that ani not contained In !his document, and/or the Exhibits hereto.
11}    Vprbal Abuse or Phvslcal ThreaL Verbal abuse and/or physical violence or threat of violence by the Independent Grower or his/her agents lo
      employees, representatives, and/or agents of, and/or contraclaf$ hired by Company wHI not be tolerated Any threatening physical action,


PPC-BPA•Broodwny/Moorcficld Complc.x-Moorcficld Proccsscd,Rctrolil Tunnel Fog-RcV,2. 7, 12,Finol                                                       4
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           verbal threat, or abusive language by Independent Grower or partle, under Its control wUI result in Immediate lermlnaUcn or this Agreement and
           Its Exhlblls. Any rererence to or prasenlatlon of weapons or firearms win be considered a physical lhreat. Company empl0yees.
           representatives, an<1/or agents of, and/or Its contractors wilt be etpected to follow like conduct In avoiding verbal abuse and/Of physical violence
          or threat of violence.
     12) Unusual Circumstances, In the event the parties hereto shan fall lo perr0rm their obfigatlons hereunder, the same shall not constitute a
          breach or this Agreement and/or ils Exhibits, when and while, and lo the extent tllat such rauure shall be caused by an act or God, fire, riot,
          work stoppage, war. or compliance with acts or requests or any governmental authority beyond reasonable control or such party.
     13) No Modification Exci,pt In Writing. The parties agree that this Agreement and the Exhibits hereto may not be modified except In writing signed
          by bolh the Company and Independent Grower.
     14) E15eluslon of lncldental, Consequential. and Certain Other Damages, TO THE MAXIMUM EXTENT PERMITTED BV LAW, NEITHER THE
          COMPANY NOR INDEPENDENT GROWER SHALL BE LIABLE TO ONE ANOTHER FOR ANY SPECIAL. INCIDENTAL, INDIRECT,
          NOMINAL, CONSEQUENTIAL. EXEMPLARY OR NON-COMPENSATORY DAMAGES WHATSOEVER ARISING OUT OF OR IN ANY WAY
          RELATING TO TH!S AGREEMENT AND/OR ITS EXHIBITS, AND/OR THE PERFORMANCE OF THE PARTIES UNDER THIS AGREEMENT
         AND/OR ITS EXHIBITS,
    15) Oppor1unlty to Consult Third-Parties. Independent Grower acknowledges that heishe has had the opportunity lo consult wllh thlrd-p11rtle~
         Including, but not necessarily lfmijed to, legal and financial advisers, belore entering Into this Agreement end lb Exhibits.
    16) Severablllty. The parties agree Iha! If any or Iha provisions or this Agreement and/or its Exhibits shall be held void for any reason, the
         remaining provisions shaQ conllnue In Ml force and effect.
    17) Choice of Law and Venue. Independent Grower and the Company agree Iha! disputes should be arbitrated as set forth above. The parties
         agree that the subslanHve laws of lhe Slate In which the f;mn Is localed shall govem the lnlerprelallon or this Agreement and/or the Exhlblls
        hereto, and all other deellng, between Independent Grower and CGmpany, even 11 lhe choice or law rules or lhal Slate would otherwise allow
        ror lhe applicalhm or lhe substantive laws or a different Slate, IF ANY MATTERS IN DISPUTE ARE REQUIRED TO BE SETTLED BY
        LITIGATION, SUCH TRIALS WILL BE DECIDED BY A JUDGE. THE PARTIES WAIVE TRIAL BY JURY IN ANY SUCH ACTION(S) AND
        CONFIRM THAT THIS WAIVER IS A MATERIAL INDUCEMENT TO THEIR BUSINESS TRANSACTIONS, ANY SUCH LITIGATION,
        ENFORCEMENT OF AN ARBITRATION RULING OR OTHER PROCEEDING BElWEEN THE PARTIES THAT MAY BE BROUGHT, OR
        ARISE OUT OF, IN CONNECTION WITH OR BY REASON OF THIS AGREEMENT SHALL BE BROUGHT IN THE FEDERAL DISTRICT
        COURT AND DMSION IN AND FOR THE COUNTY IN WHICH THE FARM IS LOCATED AND SUCH COURT SHALL BE THE EXCLUSIVE
        COURT OF JURISDICTION AND VENUE.

          Signed on the dates Indicated below but effective as or lhe dale first written above.

   INDEPENDENT GROWER                                               I   I




   Independent Grower Signature

  ,r~#ioitrftfl LtC                                                                     Name. Michael          S. Ellinggin

                                                                                        TIiie: Operations          Mnnoger

                                                                                        Date _    _.~..,_.,/..._/..;;.c.+-/_.._1--''l..-:;._._   _ _ __   _   _



 Date:·     3 -/ ")...,. j;J._
 Rig/II lo Decline Arbitration. A po11llrv grower, Hvestock producer or swine production contract grower has tl,e
right to decline lo be hound bv //,e arbitration provisions set fort!, in tills Agreement. A poultry grower, livestock
producer or swine production contract grower shall Indicate whether or not it desires to be bound hv the arbitration
provisions bv signing one oftl,e fo/lowinq_statemenlsi fai/11re lo choose an option will he treated as /[/he po11ltry
grower, livestock producer or swine production contract grower declined to he bound hv the arbitration provisions
set {orl/1 in this Agreement:

I decline to be bound bv the arbitration
erovlsions set {or1/1 in tl,is Agreement:

I accept the arbitration
provisions as set forth In tl,Js Agreement:




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                                                                    EXHIBIT A
                                       BROILER PRODUCTION PAYl\lJENT SCHEDULE
                                               Broadway, VA/ Moorefield, \VY Complex
                                                       Moorefield Processed
                                                        Retrofit Tunnel Fog

    The Independent Grower shall be paid by the Company for Marketable Broiler Live Weight pounds according to the formula
    described below, "Mnrketable Broiler Live Weight" is defined ns gross live weight at the processing plant or other recognized
    scnle at the Company's option. A "tlock" is defined as birds from all houses under an individual Broiler Production Agreement.

    The following procedure will detennine the p11yment to the Independent Grower in consideration for raising the Broilers:

           I)      Each week an overage production cost, exclusive of Grower Payment, will be calculated for nll pounds marketed
                   during the calendar week in the complex. This cost will be designated as "Weighted Average Formula Cost."
                       The Weighted Average Fonnula Cost shall be the sum of:
                                   a) Total chicks placed for the complex times 20 cents per chick, plus
                                   b) Total pounds of feed used nl the complex times IO cents per pound of feed, plus
                                   c) Water medication used at the complex at the Company's cost,
                       with the totol of a, b, and c divided by the complex' s gross live pounds of Broilers for the week.

                  To prevent irregular spreads in the weekly Weighted Average Fonnula Cost, any broiler flock whose Grower
                  Fonnula Cost is ten (I 0) percent more than, or less than the Weighted Average Formula cost for the week will be
                  removed from the computation of the weekly Weighted Average Fonnula Cost Independent Growers that are
                  company employees (or immediate fDmlly members of nn employee) or broiler service contractors will be excluded
                  from the cnlculntions used to detennine the Weekly Averagc Fonnula Cost.
       2)        The individual Independent Grower's production cost per pound, exclusive of Grower Payment. will be calculated on
                 D formula cost basis for each flock produced under the Broiler Production Agreement. This cost will be designated as
                 "Grower Fonnuln Cost."
                     The individual Grower fonnula Cost shall be the sum of:
                                 n) Total chicks placed with the Independent Grower limes 20 cents per chick, plus
                                 b) Total pounds of feed delivered to the Independent Grower less feed picked up with that
                                      difference multiplied by 10 cents per pound of feed, plus
                                 c) Water medication used by lhe Independent Grower et the Compnny's cost,
                     with the totnl of n, b, and c divided by the Independent Grower's gross live pounds of Broilers for the flock.
      3)        The Grower Payment per Marketnble Broiler Live Weight pound for a flock with a "Grower Fonnuln Cost" LESS
                lhnn the "Weighted Average Fonnula Cost" in a week will be: 5,55 cents (base payment) PLUS the amount of the
                difference between the "Grower Fo1TT1ula Cost" nnd the "Weighted Average Fonnula Cost" for the week,
      4)        The Grower Payment per Mnrketnble Broiler Live Weight pound for a flock with a "Grower Formula Cost'' MORE
                thnn the "Weighted Average Fonnuln Cost'' in 11 week will be: 5.55 cents (base payment) MlNUS lhe amount of the
                difference between the "Grower Fonnula Cost" ond the "Weighted Average Formula Cost" for the week.
      5)        Under no circumslnnces will the Grower Payment be less thnn 4.05 cents per pound Marketable Broiler Live Weight
                pounds produced.
      6)        Any attempt by the Independent Grower to mnnipulnte this formula by using feed, chicks, or medication not
                furnished by the Company for a particular flock will be grounds for immediate terminntion of the Broiler Production
                Agreement and its Exhibits.
     7)         An energy allowance shnll be paid in addition to the above Grower Payment on all flocks placed, provided that good
                management practices are followed ns determined by the Company's field service technician. These good
                management practices include, but are not limited to, proper house preparation, proper brooding, and ventilntion.
                The energy allowance payment will be 0,20 cenll (two-tenths of a cent) per Marketable Broiler Live Weight pound,




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          8)        A tunnel fog house is a broiler house that meets all Compnny broiler house requirements and meets the tunnel
                   ventilation specifications but lncks an approved evaporative cooling pad system. Broilers grown in 1he Orower's
                   existing houses and in all other houses that do not meet all of the criteria outlined by the Company shall be subject
                   solely to payment according to the stnndard Exhibit A Payment Schedule to the Broiler Production Agreement versus
                   the New House/Retrofit Tunnel Fog House Payment Schedule, and will be considered a separate flock from those
                   grown in the new or retrofit IUnnel fog houses meeting all the Company requirements.

    Exnmples or Grower P11yment:

                   Exumple I)
                      Weekly Weighted Average Fonnula Cost                                                 22.00 cents
                      Grower Formula Cost                                                                  21.80 cents
                      Difference                                                                              .20 cents (to be added to bnse payment)
                      Bnse Payment                                                                          5.55 cents
                      Total Grower Payment Per Marketable Broiler Live Weight Pound                         5.75 cents
                      Energy Allowance Year Round Weighted Average                                           .20 cents
                      Total Payment Per Marketable Broiler Live Weight Pound                                5.95 cents


                  Example2)
                     Weekly Weighted Average Fonnula Cost                                                 22.00 cents
                     Grower F'onnula Cost                                                                 22.25 cents
                     Difference                                                                             .25 cents (lo be subtrnctcd from b.ue pB}menl)
                     Base Payment                                                                          5.55 cents
                     Total Grower Payment Per Mnrketnble Broiler Live Weight Pound                         5.30 cents
                     Energy Allowance Yenr Round Weighted Average                                           .20 cents
                     Total Poyment Per Markctllble Broiler Live Weight Pound                               5.50 cents


  Settlement checks will be moiled within ten (IO) worklng dnys ofter the week-end following final delivery or birds from all
  Growers which are involved In settlemenu during sold week. A Grower whose broilers arc picked up in more than one
  colendnr week will be grouped in the week the lost broilers are removed from the form.


  INDEPENDENT GROWER                                                             PILGRIM'S ~RIDE CORPORA~-


 lndependen1browirslgnnture
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 ,:tit:f:.,iw.~                      UC.                                        Name: Michoel S. Ellington


                                                                                Tille: Operations Mnnauer
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                                                                 EXHIBITB
                                                   PILGR.Il\,l'S PRIDE CORPORATION
                                                   COST IMPROVEl\tffiNT PROGRAM


    Pilgrim's Pride Corporation h11S a Cost Improvement Program (the "Program") designed to help improve the
    performance of its high cost Independent Growers ns set out below. The purpose of this program is to assist these
    Independent Growers in becoming more competitive and cost efficient. Participation in this Program is determined by
    the Independent Grower's pay and the deviation from the average stmldard cost as established by the provisions of the
    Broiler Production Agreement.

   An Independent Grower will enter the Program when his or her average pny per pound is $.0050 or more .under the
   average base payment for the contract over a successive period of 6 flocks. When this occurs, the Broiler Production
   Manager, Service Technician, and Independent Grower will meet to discuss ideas to improve his or her performance
   and ways to achieve more cost effective production. The items to be reviewed may include, but will not be limited to,
   items such as:

             11.      Poultry House Management-Discussion of day-to-day management of the broilers.
             b.       Bird Density-Discussion of density options, with every effort made to reach n mutual agreement on
                      any density change.
            c.        Equipment and Housing Issues-Discussion of current issues other than replacement of existing
                      equipment.
            d.        Specific Disease [ssues.

  Except as set out in this E.xhibit 8, all other tenns and conditions of the Broiler Production Agreement remnin in full
  force nnd effect. During any probationary period of the Cost Improvement Program either the Company or the
  Independent Grower may elect at any time to exercise its rights to terminate the Broiler Production Agreement as
  noted in Section D of the Agreement

   While in the Program the fndependent Grower will be placed on a probationary starus for no less than three (3) flocks
   and must increase his or her average pay within $.0050 of the base payment for these three (3) successive flocks to be
   taken off of probationary status nnd released from this Program. If the Independent Grower's average poy does not
   improve to a level within $.0050 of the base payment for the first three (3) successive flocks after entering the
  Program, then the Independent Grqwer's Broiler Production Agreement will be modified by removing the minimum
  pay per pound for the next three (3) successive flocks nnd the Independent Grower will remain on probntion and in the
  Program. If, during tJ1is extended probation of three (3) successive flocks the Independent Grower improves its
  performance sufficient lo increase his or her average pay within $.0050 of the base payment for these three (3)
 successive flocks, then the Independent Grower will be taken off of probationary status and released from the Program.
  If, however, during this extended probation of three (3) successive flocks, the Independent Grower agnin fails to
 improve its perfonnance sufficient to increase his or her average pay to n level within $.0050 of the base payment for
 these three (3) successive flocks, then the Company may tenninnte the Independent Grower's Broiler Production
 Agreement.

At the Company's sole discretion, based on mitigating circumstances, the Company may extend this Program on a
flock to flock basis with the understanding that the minimum pay per pound will remain removed from the
Independent Grower's Broiler Production Agreement. If the [ndependent Grower does not improve its perfonnnnce to
increase his or her av(:rage pay within $.0050 of the base payment for such flock, the Company may tenninate the
Independent Grower's Broiler Production Agreement or at its sole discretion extend the Program for another flock.

Performance factors caused by natural disasters or other conditions beyond the reasonable control of the Independent
Grower may be considered exceptions to this Program nt the sole discretion of the Company.


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     The Independent Grower nnd tl1e Company both ncknowledge that the Cost Improvement Program is related to the
     Independent Grower's best efforts under the applicable Broiler Production Agreement. Therefore, if the Independent
    Grower is in a Cost Improvement Program at the time he or she enters into a new Broiler Production Agreement with
    its Exhibits, the Independent Grower's performance under the Cost Improvement Program before entering into the new
    Production Agreement will be considered in evaluating the Independent Grower's performance in the Cost
    Improvement Program after signing the new Broiler Production Agreement.




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                                                            EXHIBITC
                                               DEAD BIRD AND POULTRY HOUSE LITTER
                                                  BEST MANAGEMENT PRACTICES


          DEAD BIRD BEST .MANAGEMENT PRACTICES

          I.        All dead birds will be disposed of by one or more of the following approved methods:
                       a. Composting
                       b. Incineration
                       c, Rendering
                       d. Any other method approved by the applicable state regulatory agency

      2.           In the case of n major die-offthnt cannot be disposed of by the normnl, approved means on that farm, the
                   Independent Grower will contact a Pilgrim's Pride Corporation representative within 24 hours to report the
                   loss. Pilgrim's Pride Corporation will call thenpproprinte state agency to obtain a permit for burial.



      POULTRY HOUSE LITIER BEST MANAGEMENT PRACTICES

   Where poultry house litter is land applied on property owned or lensed by the Independent Grower, the following Best
   Management Practices, in conjunction with all npplicnble state regulations pertaining to litter disposal, shall be
   followed:

     I.           Poultry litter should not be stored outside unless covered and proper controls, such ns benns or dikes, are
                  utilized to prevent rainfall runoff from coming in contnct with the litter.
  2.              Poultry litter should be evenly distributed over application sites at a rate not to exceed 5 tons per acre per yenr,
                  or as otherwise directed in a site specific land management plan.
  3.              Land application of poultry litter should not be undertnken when soil is saturated, frozen, or covered with
                 snow.
 4.              Poultry litter should not be applied on slopes with a grade of more than 15 percent.
 5.              Edge of field grassed strips should be used lo separate watercourses from land application areas. Land subject
                 to excessive erosion should be avoided when applying litter.
 6.              Records should be kept by the Independent Grower of the dates, quantity, and specific sites where litter is
                 applied.
 7.              Vehicles used for transporting poultry litter on state or federally maintnined roads or more than I mile on any
                 other public road should be covered or tnrped.

 Where poultry house litter is sold or given to another party for land application or other approved use, the following
 Best Management Practices, plus any other stale requirements, will be followed by the Independent Grower:

 I.              Records should be kept by the Independent Grower of the dates, quantity, and individual or company
                 receiving the litter.
2.               A copy of the above Best Management Practices to be utilized in the land application of the liner should be
                 provided lo the individual or company receiving the litter.




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                              AMENDMENT TO BROILER PRODUCTION AGREEMENT
                                             EXHIBIT A - PAYI\ilENT SCHEDULE
                                            Brondway,VA / Moorefield, WV Complex
                                                    Moorefield Processed
                                                     Retrrfit Tunnel Fog                                              I                          I
This Amendment to Exhibit A P<ll'.!!Je.nt chldule (''Ame ment'j) amends and modifies the Pilgrim's Broiilr Production
Agreement between                  / r, e         .          r-SC"-.                                (Grower/Farm Name)
(hereinnfter referred to as "Independent Grower'') and Pilgrim's Pride Corporation (hereinafter referred to as "Pilgrim's"
or "Company"). Company and the Independent Grower agree to amend the Broiler Production Agreement as follows:

     A. In Paragraph 3 on Exhibit A, the base payment shall be changed from 5.55 cents to 5.85 cents.


     B. In Paragraph 4 on Exhibit A, the base payment shall be changed from 5.55 cents to S.85 cents.


     C. In Paragraph S on Exhibit A, the minimum pay per pound shall be changed from 4.05 cents to 4.35 cents.


     D. The Example of Grower Payment shall be deleted in its entirety and replaced with the following:

          E);amplc of Grower Payment:                                                                                                                      . ...
               Example I)
                  Weekly Weighted Average Fonnula Cost                                               22.00 cents
                  Grower Fonnuln Cost                                                                21.80 cents
                  Difference                                                                             .20 cents (tu be nddcd 10 b.15t: payment)
                  Base Payment                                                                         5.85 cents
                  Total Grower Payment Per Markcu:1ble Broiler Live Weight Pound                       6.05 cents
                  Energy Allowance Year Round Weighted Average                                          .20 cents
                  Total Payment Per Marketable Broiler Live Weight Pound                               6.25 cents


               Example 2)
                  Weekly Weighted Average Formula Cost                                                22.00 cents
                  Grower Fonnula Cost                                                                 22.25 cents,,.                        .
                  Difference                                                                            .25 cents (lo bi: subtr:ictcd from b:ue pa)mcnl)
                  Base Payment                                                                         5.85 cents
                  Total Grower Payment Per Marketable Broiler Live Weight Pound                        5.60 cents
                  Energy Allowance Year Round Weighted Avcroge                                          .20 cents
                  Total Payment Per Marketable Broiler Live Weight Pound                               5.80 cents


Except for the above-referenced modifications per this Amendment to Exhibit A - Payment Schedule, all other tenns and
conditions of the applicable Pilgrim's Broiler Production Agreement remain in full force and effect.




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•    IN WITNESS WHEREOF, the parties have executed this Amcnlent to Exhibit A of the opplicable Pilgrim's Broiler
     Production Agreement effective on the _j_ day of                       fe.e
                                                                      20...f.::/_.             ,

     PILGRIM'S PRIDE CORPORATION:                                          INDEPENDENT GROWER



     By:                                                                   By:     C;tiµK,t(~
     Name:                                                                 Printed Nnme:        £r1T He,d.r,cJ:'
     Title:                                                                Farm Name:            UIIJ /r:c R.. ~a,,l!J( I
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